Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 1of9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA )
v. 2:20-CR-050
AURELIO MEDINA

PLEA AGREEMENT

Defendant Aurelio Media, represented by his counsel Ronald E. Harrison, II,
and the United States of America, represented by Assistant United States Attorney
Tania D. Groover, have reached a plea agreement in this case. The terms and
conditions of that agreement are as follows.
1. Guilty Plea

Defendant agrees to enter a plea of guilty to Count One of the Indictment,
which charges a violation of 18 U.S.C. § 1589(b).
2. Elements and Factual Basis

The elements necessary to prove the offense charged in Count One are (1) the
defendant knowingly benefited financially or received anything of value; (2) from the
participation in a venture that engaged in providing or obtaining of labor or services
of a person; and (8) by means of the abuse or threatened abuse of law or legal process,
or by means of any scheme, plan, or pattern intended to cause a person to believe that
if that person did not perform such labor or services, that person or another person

would suffer serious harm or physical restraint.
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 2 of 9

Defendant agrees that he is, in fact, guilty of Count One. He agrees to the
accuracy of the following facts, which satisfy each of the offense’s required elements:
beginning at a time unknown to the Grand Jury, but at least from on or about April
9, 2020, and continuing on or about September 2, 2020, the precise dates being
unknown, in Glynn County and Effingham County, within the Southern District of
Georgia, and elsewhere, D efendant Aurelio Medina, aided and abetted by other
individuals known and unknown to the Grand Jury, did knowingly financially benefit
from participation in a venture which has engaged in the providing and obtaining of
labor and services by unlawfully charging foreign workers to obtain an H-2A visa and
unlawfully withholding their identification documents, by means of the abuse and
threatened abuse of law and legal process and by means of a scheme, plan, and
pattern intended to cause John Doe #1 to believe that, if John Doe #1 did not perform
such labor and services, that John Doe #1 would suffer serious harm or physical
restraint, all in violation of Title 18, United States Code, Sections 1589(b) and 2.

3. Possible Sentence

Defendant’s guilty plea will subject him to the following mandatory maximum
possible penalties for Count One: imprisonment for not more than 20 years, a fine of
not more than $250,000, a term of supervised release of not more than 5 years, a $100
special assessment, a second special assessment of $,5000 pursuant to 18
U.S.C.§ 3014, and mandatory restitution in an amount to be determined by the Court

pursuant to 18 U.S.C. § 1593.
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 3 of 9

4, No Promised Sentence

No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by Defendant's counsel, the
government, the U.S. Probation Office, or anyone else. The Court may impose a
sentence up to the statutory maximum. Defendant will not be allowed to withdraw
his plea of guilty if he receives a more severe sentence than he expects.
5. Court’s Use of Guidelines

The Court is obligated to use the United States Sentencing Guidelines to
calculate the applicable guideline range for Defendant’s offense and to consider that
range, possible departures under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 35538(a), in determining his sentence. The Sentencing
Guidelines are advisory; the Court is not required to impose a sentence within the
range those Guidelines suggest. The Sentencing Guidelines are based on all of
Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts
underlying the particular Count to which Defendant is pleading guilty.
6. Agreements Regarding Sentencing Guidelines

a. Use of Information

The government is free to provide full and accurate information to the Court
and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range.
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 4of9

b. Acceptance of Responsibility

The government will not object to a recommendation by the U.S. Probation
Office that Defendant receive a two-level reduction in offense level for acceptance of
responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. Ifthe U.S.
Probation Office makes that recommendation, and Defendant’s offense level is 16 or
greater prior to any reduction for acceptance of responsibility, the government will
move for an additional one-level reduction in offense level pursuant to Section
3E1.1(b) of the Sentencing Guidelines based on Defendant’s timely notification of his
intention to enter a guilty plea.

c. Specific Offense Characteristics

The government agrees to recommend to the U.S. Probation Office and to the
Court at sentencing that the specific offense characteristic pursuant to Section
2H4.1(b)(1) concerning bodily injury does not apply in this case.
7. Cooperation

a. Complete and Truthful Cooperation Required

Defendant must provide full, complete, candid, and truthful cooperation in the
investigation and prosecution of the offenses charged in his Indictment and any
related offenses. Defendant shall fully and truthfully disclose his knowledge of those
offenses and shall fully and truthfully answer any question put to him by law
enforcement officers about those offenses.

This agreement does not require Defendant to “make a case” against any:

particular person. His benefits under this agreement are conditioned only on his
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 5of9

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other
proceeding.

b. Motion for Reduction in Sentence Based on Cooperation

The government, in its sole discretion, will decide whether Defendant’s
cooperation qualifies as “substantial assistance” pursuant to U.S.S.G. § 5K1.1 or Fed.
R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure
or reduction in Defendant’s sentence. If such a motion is filed, the Court, in its sole
discretion, will decide whether, and to what extent, Defendant’s sentence should be
reduced. The Court is not required to accept any recommendation by the government
that the Defendant’s sentence be reduced.
8. Restitution

Defendant agrees to pay restitution ordered by the Court for the full loss
caused by Defendant’s total criminal conduct. Defendant agrees that restitution is
not limited to the specific counts to which Defendant is pleading guilty. Any
restitution judgment is intended to and will survive Defendant, notwithstanding the
abatement of any underlying criminal conviction. Defendant acknowledges that
restitution is mandatory pursuant to 18 U.S.C. § 1593.
9. Waivers

a. Waiver of Appeal

Defendant entirely waives his right to a direct appeal of his conviction and
sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not
Case 2:20-cr-O0050-LGW-BWC Document 57 Filed 06/29/21 Page 6 of 9

fall within the scope of the statute). The only exceptions are that the Defendant may
file a direct appeal of his sentence if (1) the court enters a sentence above the statutory
maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines
range found to apply by the court at sentencing; or (3) the Government appeals the
sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his
attorney not to file an appeal.

b. Waiver of Collateral Attack

Defendant entirely waives his right to collaterally attack his conviction and
sentence on any ground and by any method, including but not limited to a 28 U.S.C.
§ 2255 motion. The only exception is that Defendant may collaterally attack his
conviction and sentence based on a claim of ineffective assistance of counsel.

c. FOIA and Privacy Act Waiver

Defendant waives all rights, whether asserted directly or through a
representative, to request or receive from any department or agency of the United
States any record pertaining to the investigation or prosecution of this case under the
authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of
1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

d. Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

Rule 11( of the Federal Rules of Criminal Procedure and Rule 410 of the
Federal Rules of Evidence ordinarily limit the admissibility of statements made by a
defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 7 of 9

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant’s statements
in connection with this plea, and any leads derived therefrom, shall be admissible for
any and all purposes.
10. Possible Immigration Effects

Pleading guilty may have consequences with respect to immigration status if
Defendant is not a citizen of the United States. Under federal law, a broad range of
crimes are removable offenses. Removal and other immigration consequences are the
subject of a separate proceeding. No one, including Defendant’s attorney or the
district court, can predict to a certainty the effect of his conviction on his immigration
status. Defendant nevertheless agrees to plead guilty regardless of any immigration
consequences, even if the consequence is his removal from the United States.
11. Defendant's Rights

Defendant has the right to be represented by counsel, and if necessary have
the court appoint counsel, at trial and at every other critical stage of the proceeding.
Defendant possesses a number of rights which he will waive by pleading guilty,
including: the right to plead not guilty, or having already so pleaded, to persist in
that plea; the right to a jury trial; and the right at trial to confront and cross-examine
adverse witnesses, to be protected from compelled self-incrimination, to testify and
present evidence, and to compel the attendance of witnesses.
12. Satisfaction with Counsel

Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 8 of 9

diligently, and he is completely satisfied with the legal advice given and the work
performed by his attorney.
13. Breach of Plea Agreement

If Defendant breaches the plea agreement, withdraws his guilty plea, or
attempts to withdraw his guilty plea, the government is released from any agreement
herein regarding the calculation of the advisory Sentencing Guidelines or the
appropriate sentence. In addition, the government may (1) declare the plea
agreement null and void, (2) reinstate any counts that may have been dismissed
pursuant to the plea agreement, and/or (8) file new charges against Defendant that
might otherwise be barred by this plea agreement. Defendant waives any statute-of-
limitations or speedy trial defense to prosecutions reinstated or commenced under
this paragraph.
14. Entire Agreement

This agreement contains the entire agreement between the government and

Defendant.

Signatures on the Following Page
Case 2:20-cr-00050-LGW-BWC Document 57 Filed 06/29/21 Page 9 of 9

DAVID H. ESTES
ACTING UNITED STATES ATTORNEY

 

Date Karl I. Knoche
Georgia Bar No. 426624
Assistant United States Attorney
Chief, Criminal Division

(9 [2Aipr ( (One fs ese
ate

Tania D. Groover

Georgia Bar No. 127947
Assistant United States Attorney

I have read and carefully reviewed this agreement with my attorney. I
understand each provision of this agreement, and | voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.

AY :
Date Aurelio Medina

Defendant

 

I have fully explained to Defendant all of his rights, and I have carefully
reviewed each and every part of this agreement with him. I believe that he fully and
completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.

G30 A Am.

Date Ronald E. Harrison, ll
Defendant’s Attorney
